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                                      Office of the Clerk
                     United States Court of Appeals for the Ninth Circuit
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Molly C. Dwyer
Clerk of Court                           January 08, 2021


       No.:         21-15049
       D.C. No.: 3:20-cv-00367-HDM
       Short Title: USA v. Kacy Sapp


       Dear Appellant

       The Clerk's Office of the United States Court of Appeals for the Ninth Circuit has
       received a copy of your notice of appeal and/or request for a certificate of
       appealability.

       A briefing schedule will not be set until the court determines whether a
       certificate of appealability should issue.

       Absent an emergency, all subsequent filings in this matter will be referred to the
       panel assigned to consider whether or not to grant the certificate of appealability.

       All subsequent letters and requests for information regarding this matter will be
       added to your file to be considered at the same time the cause is brought before the
       court.

       The U.S. Court of Appeals docket number shown above has been assigned to this
       case. You must indicate this Court of Appeals docket number whenever you
       communicate with this court regarding this case. Motions filed along with the
       notice of appeal in the district court are not automatically transferred to this court
       for filing. Any motions seeking relief from this court must be separately filed in
       this court's docket.
